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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION




 UNITED STATES OF AMERICA

                         v.
                                                          Criminal Action Number 3:04CR351-
                                                          JRS-01
 MICHAEL ABRIGO TWEEDY,

                                         Defendant.


                                   RESTITUTION ORDER

       THIS MATTER comes before the Court on the Government’s Unopposed Motion to Amend

Final Judgment Order to Reflect Updated Restitution Information, filed on July 18, 2005. Pursuant

to the Mandatory Victims Restitution Act, 18 U.S.C. §§ 3663A-3664, the Court hereby ORDERS

that restitution in the amount of $405,682.02 is DUE AND PAYABLE IMMEDIATELY to the

Medical College of Virginia Hospitals (“MCVH”). Restitution payments on behalf of MCVH should

be made to:

                                      Treasurer of Virginia
                                      Division of Debt Collection
                                      Officer of the Attorney General
                                      900 East Main Street
                                      Richmond, VA 23219

       In addition, Defendant is ORDERED to participate in the Bureau of Prisons’ Inmate

Financial Responsibility Program at a rate of at least $25 per quarter, or if assigned as a UNICOR

grade 1 through 4 employee, at least 50% of the prisoner’s monthly pay.

       This Order is made a part of the judgment imposed by the Court on April 28, 2005.

       Let the Clerk send a copy of this Order to all parties of record.
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      It is SO ORDERED.



                                    /s/ James R. Spencer
                                   UNITED STATES DISTRICT JUDGE

   July 20, 2005
DATE




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